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 No. 04-08-00789-CR


Cirildo FITCHETT,

Appellant


v.


The STATE of Texas,

Appellee


From the 112th Judicial District Court, Sutton County, Texas

Trial Court No. 2085

Honorable Pedro Gomez, Judge Presiding


Opinion by:	Sandee Bryan Marion, Justice

												

Sitting:	Karen Angelini, Justice

		Sandee Bryan Marion, Justice

		Phylis J. Speedlin, Justice

		

Delivered and Filed: 	July 15, 2009


AFFIRMED


	Defendant, Cirildo Fitchett, pled guilty to possession of a controlled substance with intent
to deliver, without a plea bargain.  The trial court assessed punishment at ten years' confinement.

	Defendant's court-appointed appellate attorney filed a brief containing a professional
evaluation of the record and demonstrating that there are no arguable grounds to be advanced. 
Counsel concludes that the appeal is without merit.  The brief meets the requirements of  Anders v.
California, 386 U.S. 738 (1967).  Defendant was informed of his right to review the record.  Counsel
provided defendant with a copy of the brief and advised him of his right to file a pro se brief. 
Defendant did not file a pro se brief.

	After reviewing the record and counsel's brief, we agree that the appeal is frivolous and
without merit.  Accordingly, we affirm the trial court's judgment, and we GRANT appellate
counsel's motion to withdraw. (1)  Nichols v. State, 954 S.W.2d 83, 86 (Tex. App.--San Antonio 1997,
no pet.); Bruns v. State, 924 S.W.2d 176, 177 n.1 (Tex. App.--San Antonio 1996, no pet.).   


							Sandee Bryan Marion, Justice

DO NOT PUBLISH

1.   No substitute counsel will be appointed.  See In re Schulman, 252 S.W.3d 403, 408 n.22 (Tex. Crim. App.
2008).  Should defendant wish to seek further review of this case by the Texas Court of Criminal Appeals, defendant
must either retain an attorney to file a petition for discretionary review or file a pro se petition for discretionary review. 
Any petition for discretionary review must be filed within thirty days from the date of either this opinion or the last timely
motion for rehearing that is overruled by this court.  See Tex. R. App. P. 68.2.  Any petition for discretionary review must
be filed with this court, after which it will be forwarded to the Texas Court of Criminal Appeals along with the rest of
the filings in this case.  See Tex. R. App. P. 68.3.  Any petition for discretionary review must comply with the
requirements of Texas Rules of Appellate Procedure 68.4. 

